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                        Exhibit 6
      Case 2:16-cv-01314-JRG Document 246-7 Filed 03/21/18 Page 2 of 3 PageID #: 15208


Mariano, Andrea

From:                                  Comeau, Jeffrey D.
Sent:                                  Wednesday, March 14, 2018 10:51 AM
To:                                    Andrew Choung; Team Samsung KAIST; Melissa Richards Smith
                                       (melissa@gillamsmithlaw.com)
Cc:                                    Chris Bunt; Thomas Burke; Sheasby, Jason (JSheasby@irell.com); Guy Rodgers; Rex
                                       Hwang; 'Deana Attaway'
Subject:                               RE: KIP v. Samsung -- Supplemental Becker Report


Andrew,

This is a baseless objection. Plaintiff failed to comply with the basic disclosure requirements of Rule 26 regarding Mr.
Weinstein’s regression analysis, which you’ve never disputed. To attempt to alleviate the prejudice to Defendants
without involving the Court, we proposed that Dr. Becker issue a supplemental report on regression, to which you
readily agreed. Now that you’ve seen Dr. Becker’s supplemental report, you are attempting to back out of your
agreement for no apparent reason other than to try to prevent Dr. Becker from being able to testify regarding the gross
flaws in Mr. Weinstein’s regression analysis. In any event, the simplest and most appropriate way to deal with this
seems to be to remove the issue from the case, as I originally suggested. We will proceed with our motion to strike Mr.
Weinstein’s regression opinions based on Plaintiff’s failure to disclose supporting data and, now, gamesmanship.

Regards,
Jeff

From: Andrew Choung [mailto:achoung@glaserweil.com]
Sent: Sunday, March 11, 2018 2:21 PM
To: Team Samsung KAIST; Comeau, Jeffrey D.; Melissa Richards Smith (melissa@gillamsmithlaw.com)
Cc: Chris Bunt; Thomas Burke; Sheasby, Jason (JSheasby@irell.com); Guy Rodgers; Rex Hwang; 'Deana Attaway'
Subject: [EXT] RE: KIP v. Samsung -- Supplemental Becker Report

Counsel,

We object to the supplemental report by Becker. You previously requested an extension so Becker could address the
regression analysis data that you believed was not provided to you in a timely manner. We made very clear that we
were willing to accommodate your request so long as Becker strictly limited his supplement to the data. Becker did not
do so. He purports to address all aspects of Mr. Weinstein’s regression modeling itself – that is something that Becker
could have done in his opening report. Indeed, Becker addresses the regression analysis data only in passing in a
handful of paragraphs. Defendants will need to seek leave to supplement. Thank you.


Best regards,
Andrew Choung

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From: Comeau, Jeffrey D. [mailto:jeffreycomeau@paulhastings.com]
Sent: Friday, March 9, 2018 7:35 PM
                                                                    1
       Case 2:16-cv-01314-JRG Document 246-7 Filed 03/21/18 Page 3 of 3 PageID #: 15209
To: Chris Bunt <rcbunt@pbatyler.com>; Andrew Choung <achoung@glaserweil.com>; Thomas Burke
<tburke@glaserweil.com>; Sheasby, Jason (JSheasby@irell.com) <JSheasby@irell.com>; Guy Rodgers
<grodgers@glaserweil.com>; Rex Hwang <rhwang@glaserweil.com>; 'Deana Attaway' <dattaway@pbatyler.com>
Cc: Melissa Richards Smith (melissa@gillamsmithlaw.com) <melissa@gillamsmithlaw.com>; Team Samsung KAIST
<TeamSamsungKAIST@paulhastings.com>
Subject: KIP v. Samsung ‐‐ Supplemental Becker Report

Counsel,

Attached is the Supplemental Expert Report of Dr. Becker. Please note that certain exhibits have been designated AEO.

Regards,
Jeff



____________________________________________________________________________
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                      Paul Hastings LLP | 4747 Executive Drive, Twelfth Floor, San Diego, CA 92121 | Direct:
                      +1.858.458.3052 | Main: +1.858.458.3000 | Fax: +1.858.458.3152 |
                      jeffreycomeau@paulhastings.com | www.paulhastings.com




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